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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                  v.
                                                       Criminal No. 21-CR-00670 (CJN)
 STEPHEN K. BANNON,

                             Defendant.


                         MOTION TO WITHDRAW AS COUNSEL

       Pursuant to Local Rule 83.6(c), I, Eric R. Columbus, currently listed as counsel for

Movant the United States House of Representatives in the above-captioned case, move to

withdraw as counsel. I am leaving my position in the Office of General Counsel. Please remove

my name from the case docket and the electronic filing system. The Movant will continue to be

represented by the other attorneys who have entered appearances in this matter.

                                            Respectfully submitted,

                                            /s/ Eric R. Columbus
                                            Eric R. Columbus (D.C. Bar No. 487736)
                                              Special Litigation Counsel

                                            Office of General Counsel
                                            U.S. House of Representatives
                                            5140 O’Neill House Office Building
                                            Washington, D.C. 20515
                                            (202) 225-9700
                                            Eric.Columbus@mail.house.gov

January 4, 2023
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 4, 2023, I caused the foregoing Motion to Withdraw as

Counsel to be filed via the CM/ECF system for the U.S. District Court for the District of

Columbia, which I understand caused a copy to be served on all registered parties.



                                                    /s/ Eric R. Columbus
                                                    Eric R. Columbus
